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                                         IN THE UNITED STATES DISTRICT COURT
                                        FOR THE EASTERN DISTRICT OF VIRGINIA

              UNITED STATES OF AMERICA, et al.,                     §
                                                                    §
                      Plaintiffs,                                   §
              v.                                                    §    Civil Action No. 1:23-cv-00108-LMB-JFA
                                                                    §
              GOOGLE LLC,                                           §
                                                                    §
                      Defendant.                                    §




                                     DECLARATION OF ALI NASIRI AMINI
                      IN SUPPORT OF DEFENDANT GOOGLE LLC’S REVISED OBJECTIONS TO
                      THE PUBLIC DISCLOSURE OF CONFIDENTIAL INFORMATION AT TRIAL


                     I, Ali Nasiri Amini, pursuant to 28 U.S.C. § 1746, hereby declare as follows:

                     1.       I am a Vice President of Engineering and Data Science at Google LLC. I have been

             employed by Google since July 2009.             I submit this declaration in support of Google’s Revised

             Objections to the Public Disclosure of Confidential Information at Trial pursuant to the Court’s August 9,

             2024 Order.

                     2.       Based on my work at Google, I have personal knowledge of the company’s practices and

             procedures for maintaining the confidentiality of its source code and other technical product information.

             The contents of this Declaration are true and correct to the best of my knowledge, information, and belief,

             and are based on Google’s policies and practices as they relate to the treatment of confidential

             information, the materials that were provided to me and reviewed by me, and are informed by

             conversations with other knowledgeable employees of Google. If called upon as a witness in this action, I

             could and would testify competently thereto.

                     3.       Google follows a strict practice that requires confidential treatment of its source code,

             product design information, and data. In my experience and to the best of my knowledge, in order to


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             protect itself from competitive harm, Google takes significant precautions to ensure that this information

             is not made public, and does not disclose documents or information of this nature outside of the company,

             with the exception of certain documents that Google shares with partners or fiduciaries, subject to further

             confidentiality requirements.

                       4.     I have reviewed the trial exhibits listed below, and I believe that the sealing (or redaction,

             when specified) of those exhibits is necessary to protect Google’s trade secrets and proprietary

             information.

                       5.     I have reviewed DTX2149, DTX2150, DTX2151, DTX2165, DTX2166, DTX2167,

             DTX2170, DTX2181, DTX2182, DTX2184, DTX2187, and DTX2188. These reflect datasets Google

             produced during this litigation concerning revenue, fees, and impressions flowing through or concerning

             Google’s products, including with regard to specific advertisers, publishers, or ad tech companies.

             Disclosing such granular data publically would provide Google’s competitors detailed customer data,

             which could harm Google’s customers as well as its competitive position in the marketplace. For this

             reason, Google strictly maintains the confidentiality of these datasets.

                       6.     I have reviewed PTX1850, DTX2193, DTX2194, DTX2195, DTX2196, DTX2197,

             DTX2198, DTX2199, DTX2200, DTX2201, DTX2202, DTX2203, DTX2204, DTX2205, DTX2206,

             DTX2207, DTX2208, DTX2209, DTX2210, DTX2211, DTX2212, DTX2213, DTX2214, DTX2215,

             DTX2216, DTX2217, DTX2218, DTX2219, DTX2253, DTX2254, DTX2255, and DTX2256. These

             exhibits contain Google proprietary source code. Public disclosure would allow competitors to recreate

             certain Google products, and could harm Google’s competitive position in the marketplace. For this

             reason, Google strictly maintains this competitively sensitive information as confidential and a trade

             secret.

                       7.     I have reviewed DTX0451 along with Google’s proposed redactions. Google’s proposed

             redactions encompass Google proprietary source code. Public disclosure would allow competitors to

             recreate Google products, and could harm Google’s competitive position in the marketplace. For this




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             reason, Google strictly maintains this competitively sensitive information as confidential and a trade

             secret.

                       8.     I have reviewed PTX0746 (a duplicate of which is marked as DTX0414), PTX0783 (a

             duplicate version of which is marked as DTX0605), DTX413, DTX0602, DTX0618, DTX0681,

             DTX0777, DTX0778, DTX0781, DTX0785, DTX0822, DTX0840, DTX0877, DTX0932, DTX0984,

             DTX1014, DTX1052, DTX1054, DTX1110, DTX1145, DTX1146, DTX1338, and DTX1382, along with

             Google’s proposed redactions. Google’s proposed redactions reflect detailed implementation details for

             current proprietary product optimizations and features as well as design information for Google’s internal

             engineering and financial systems. Disclosure of such implementations would allow competitors to

             recreate Google’s internal product features and could harm Google’s competitive position in the

             marketplace. For this reason, Google strictly maintains the confidentiality of this competitively sensitive

             information.




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             I declare under penalty of perjury that the foregoing is true and correct.

             Executed on August 23, 2024 in 1029 Hermosa Way, Menlo Park,
                                            CA, 94025



                                                                _______________________

                                                                Ali Nasiri Amini




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